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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK

Deborah-Lee Adams, individually and on                           1:21-cv-00753-JLS-HKS
behalf of all others similarly situated,
                                    Plaintiff,

                                                                     Second Amended
                      - against -
                                                                  Class Action Complaint

Tops Markets, LLC,
                                                                    Jury Trial Demanded
                                    Defendant


          Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


          1.    Tops Markets, LLC (“defendant”) manufactures, markets, labels and sells 100% Pure

Coffee, French Roast, Ground Coffee, Dark Roast, under its TOPS private label brand, in cans of

11.5 OZ (326 g), which claims to make 90 cups of coffee (“Product”).

          2.    TOPS private label products are made by third-party manufacturers but sold under

the name of the retailer.

          3.    In recent years, the quality of private label – sometimes referred to as “generic” or

“store brand” – products have increased, such that the quality exceeds that of the major national

brands.

          4.    TOPS private label products have an industry-wide reputation for quality and value.
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5.    TOPS promotes these attributes of its private label offerings on its website.

                           TOPS Brand Products
 Your family always comes first. And, while it can be difficult to create nutritious
 meals that fit within your schedule and budget, you take pride in what you place
 on your table.
 That's why your friends at TOPS are constantly working to improve our products,
 so that you can give your family delicious, high-quality foods at an affordable
 price. We're excited about the changes we've made to TOPS Brand Products, with
 cleaner, simpler ingredients and great new packaging on more than 2,000
 products. We'll continue to work hard every day to provide the taste, quality and
 value you need for a home made happy.
                                  All smiles with
                               Tops Brand Products




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        6.    One of the private label products sold by TOPS is its French Roast, Ground Coffee,

Dark Roast, in cans of 11.5 OZ (326 g).




        7.    The Product emphasizes its ability to provide “90 CUPS” of coffee prominently on

the front label.

        8.    Reasonable consumers, like Plaintiff, viewed this front label, and expected that “90

CUPS” meant the Product contains enough ground coffee to make 90 cups of coffee.

        9.    The Preparation Instructions on the label instruct a purchaser to use one tablespoon



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for each cup of six ounces of water.

       10.   Reasonable consumers, including Plaintiff, read, and relied on the front label stating,

“90 CUPS.”

       11.   Reasonable consumers, including Plaintiff, read, and relied on the preparation

instructions to use one tablespoon for each cup of six ounces of water.

       12.   The average weight per tablespoon was 4.5g.

       13.   Given that the Product purports to contain 326g, this means the Product only contains

enough ground coffee for 72 tablespoons, capable of producing 72 cups of coffee.

       14.   However, the representation that the Product makes “90 CUPS” of coffee is false,

deceptive, and misleading.

       15.   When consumers, like Plaintiff, followed the Product’s directions for use, they could

not brew anywhere close to ninety (90) cups.

       16.   Plaintiff followed the instructions for use provided on the Product and could not brew

90 cups.

       17.   Independent laboratory analysis determined that the Product can only make 72 cups

of coffee, 18 fewer cups than promised. See Exhibit “A,” Product Analysis.

       18.   This means that the Product delivers twenty percent fewer cups of coffee than

promised on the label, which is what consumers paid for.

       19.   Through the statement, “90 CUPS,” reasonable consumers, including Plaintiff,

expected no less than 90 cups of coffee, when used according to the label’s directions.

       20.   No reasonable consumer will expect the number of cups was closer to 70 than 90.

       21.   Defendant failed to accurately calculate and verify the number of cups based on the

Product’s contents and preparation instructions.




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       22.   This error likely resulted from failing to consider the weight of the ground coffee per

serving when creating prep instructions based on volume measurements.

       23.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components and features of the Product, relative to itself and other comparable

products.

       24.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes and features of the Product, relative to itself and other

comparable products or alternatives.

       25.   The value of the Product that plaintiff purchased was materially less than their value

as represented by defendant.

       26.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       27.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for them.

       28.   The Product is sold for a price premium compared to other similar products, $3.39

per 11.5 OZ, a higher price than it would otherwise be sold for, absent the misleading

representations and omissions.

       29.   Based on the Product’s price of $3.39 and its promise to make 90 cups, this means

the cost per cup is approximately $0.038.

                   Price ($)            Cups                 Cost per Cup ($)
                   3.39                 90                   0.037666667
                   2.712                72                   0.037666667


       30.   However, because the Product only provides 72 cups, the true cost of the Product

should be $2.71.


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       31.    This means that the Product is sold for $0.68 more than if it truthfully were labeled

as being able to provide 72 cups.

       32.    Other brands of ground coffee which are sold in containers of 11.5 OZ (326 g) and

promise 90 cups provide at least 90 cups and are sold for $3.09.

       33.    Plaintiff overpaid in two ways, because (1) she was sold ground coffee for 90 cups,

when it only made 72 cups, and (2) she bought Defendant’s Product instead of competitor products,

which cost less, and did provide 90 cups of coffee.

                                           Jurisdiction and Venue

       34.    Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       35.    Upon information and belief, the aggregate amount in controversy exceeds $5

million, including any statutory damages, exclusive of interest and costs.

       36.    Plaintiff Deborah-Lee Adams is a citizen of Vermont.

       37.    Defendant Tops Markets, LLC is a New York limited liability company with a

principal place of business in Williamsville, Erie County, New York and upon information and

belief, at least one member of defendant is not a citizen of the same state as the plaintiff.

       38.    Tops Markets Intermediate Corporation is a Delaware corporation with a principal

place of business in Williamsville New York, and a member of Defendant.

       39.    Therefore, Defendant is a citizen of Delaware and New York

       40.    The parties are citizens of different states.

       41.    Venue is proper because defendant is a resident of this district based on its principal

place of business at 6363 Main St Williamsville NY 14221-5855, Erie County, New York.




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                                                Parties

         42.   Plaintiff Deborah-Lee Adams is a citizen of Castleton, Rutland County, Vermont.

         43.   Defendant Tops Markets, LLC, is a New York limited liability company with a

principal place of business in Williamsville, New York, Erie County.

         44.   Defendant operates close to 150 supermarkets under the Tops Friendly Markets

brand in New York, Pennsylvania, and Vermont.

         45.   Having been founded almost one hundred years ago, Tops has always been known

for high quality, honesty, and value, helping consumers get necessary grocery store staples at

affordable prices.

         46.   Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, from one or more Tops locations in New York, in 2020 and/or

2021, among other times.

         47.   Plaintiff lives on the border of New York and Vermont and often crosses the border

for work and other reasons.

         48.   While Plaintiff is in New York, she shops at various Tops markets, which are

approximately an hour away, in Chestertown and Bolton Landing.

         49.   Plaintiff bought the Product at or exceeding the above-referenced price.

         50.   Plaintiff relied on the representations on the front label, which she saw, that said, “90

CUPS.”

         51.   Plaintiff relied on the preparation instructions regarding the use of one tablespoon

for six ounces of water.

         52.   Plaintiff is conscious of the value she gets for her dollar when shopping at the grocery

store.




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       53.   Plaintiff relied on Defendant’s labeling to provide 90 cups of coffee and paid no less

than the above-referenced price.

       54.   Had she known the Product would provide 20% fewer cups, she would not have

bought the Product or would have paid less.

       55.   Plaintiff did not expect twenty percent fewer cups of coffee.

       56.   Plaintiff did not, nor could be expected to know, that the Product would not provide

the number of cups promised on the label.

       57.   Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the claims made by Defendant.

       58.   The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

       59.   Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                         Class Allegations

       60.   The class will consist of all Vermont and Pennsylvania residents who purchased the

Product during the statutes of limitations for each cause of action alleged.

       61.   Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       62.   Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       63.   Plaintiff is an adequate representative because her interests do not conflict with other

members.




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       64.     No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       65.     Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       66.     Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       67.     Plaintiff seeks class-wide injunctive relief because the practices continue.

                         Vermont Consumer Protection Act (“VCPA”),
                                9 Vt. Stat. Ann §§ 2451, et seq.
                  Pennsylvania Unfair Trade Practices and Consumer Protection.
                            Law (“UTPCPL”) 73 P.S. §201-1 et seq.

                                   (Consumer Protection Statute)

       68.     Plaintiff incorporates by reference all preceding paragraphs.

       69.     The VCPA and UTPCPL require (1) a representation, omission, or practice likely to

mislead consumers, (2) the consumer’s reasonable interpretation, and (3) the misleading effects

must be material, that is, likely to affect the consumer's conduct or decision regarding the product.

       70.     Plaintiff and class members desired to purchase ground coffee which could make the

number of cups promised on the label, 90 cups.

       71.     Plaintiffs and class members interpreted the language promising 90 cups reasonably

and relied on this in conjunction with the preparation instructions.

       72.     Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions, because Plaintiff seeks the best value

for her dollars, and bought Defendant’s Product because it promised 90 cups, instead of less than

this amount.

       73.     Defendant misrepresented the Product through statements, omissions, ambiguities,


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half-truths and/or actions.

          74.   Plaintiff relied on the representation of the Product being able to provide 90 cups of

coffee.

          75.   Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                     Breaches of Express Warranty,
                                Implied Warranty of Merchantability and
                          Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

          76.   The Product was manufactured, labeled, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it could make the number of cups promised

on the label.

          77.   Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

          78.   Defendant was in possession of data which proved the Product could not supply 90

cups, yet it failed to accurately modify the 90 cups claim.

          79.   Defendant is a trusted retailer and a local institution in the areas which it operates.

          80.   Plaintiffs and other class members have formed special connections to their local

Tops Markets, more so than to any of the big box retailers who also sell groceries.

          81.   Defendant has been in operation for over a hundred years and has built up a

significant amount of equity and goodwill, which means consumers will trust them.

          82.   This position of trust comes with the duty to not mislead its customers.

          83.   Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

          84.   Defendant received notice and should have been aware of these issues due to quality

control procedures it must have conducted on the Product prior to telling consumers it would make


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90 cups of coffee.

       85.   The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because it was not fit to pass in the trade as

advertised, which was a can of ground coffee that would provide 90 cups of coffee.

       86.   Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                      Negligent Misrepresentation

       87.   Defendant had a duty to truthfully represent the Product, which it breached.

       88.   This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area.

       89.   The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, an established retailer with a unique role in the

geographic areas it operates.

       90.   Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       91.   Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                             Fraud

       92.   Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that they could make the number of cups promised on the label




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       93.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations, based on the data regarding the Product’s servings and

measurement data it inevitably possessed.

                                         Unjust Enrichment

       94.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory damages pursuant to any statutory claims and

       interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: October 22, 2021
                                                           Respectfully submitted,



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                                        Forthcoming




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United States District Court
Western District of New York

Deborah-Lee Adams, individually and on behalf of all others similarly situated,


                                        Plaintiff,


        - against -


Tops Markets, LLC,


                                        Defendant




                          First Amended Class Action Complaint



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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts
of New York State, certifies that, upon information, and belief, formed after an inquiry
reasonable under the circumstances, the contentions contained in the annexed documents are not
frivolous.

Dated: October 22, 2021
                                                                       /s/ Spencer Sheehan
                                                                        Spencer Sheehan



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